     ROCHE FREEDMAN LLP
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     Edward Normand (admitted pro hac vice)
 2   Richard Cipolla (admitted pro hac vice)
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     Counsel for Lead Plaintiff Henry Rodriguez
 9   and Lead Counsel for the Class
10
                              UNITED STATES DISTRICT COURT
11                          NORTHERN DISTRICT OF CALIFORNIA
12
13   DANIEL VALENTI, Individually and On Behalf   Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
14                                                NOTICE OF WITHDRAWAL OF
                                Plaintiff,        KYLE W. ROCHE AS COUNSEL
15
                  v.
16                                                Judge: Hon. James Donato
     DFINITY USA RESEARCH LLC, DFINITY
17   FOUNDATION, and DOMINIC WILLIAMS,

18                              Defendants.

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                   NOTICE OF WITHDRAWAL KYLE W. ROCHE AS COUNSEL
                                  Case No. 3:21-cv-06118
 1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE that Kyle W. Roche, Esq. of Roche Freedman, LLP (“RF”) hereby
 3   notifies the Court and all parties that Mr. Roche is no longer involved in RF’s class action practice
 4   and is therefore withdrawing as counsel of record in this case.
 5          NOTICE IS FURTHER GIVEN THAT no further papers, pleadings, motions,
 6   correspondence, communications, regarding the above-caption action, should be served on
 7   Kyle W. Roche.      Any and all future CM/ECF notifications should remain directed towards
 8   Edward Normand, Richard Cipolla, Stephen Lagos, and Ivy Ngo, attorneys of record for Lead
 9   Plaintiff Henry Rodriguez and Lead Counsel for the Class.
10   DATED: September 1, 2022                    Respectfully Submitted,
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                                                 ROCHE FREEDMAN LLP
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13                                               /s/ Kyle W. Roche
                                                 Kyle W. Roche
14                                               99 Park Avenue, 19th Floor
                                                 New York, NY 10016
15                                               kyle@rochefreedman.com
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                                                 Counsel for Lead Plaintiff Henry Rodriguez
17                                               and Lead Counsel for the Class

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                      MOTION TO WITHDRAW KYLE W. ROCHE AS COUNSEL
                                   Case No. 3:21-cv-06118
 1                                    CERTIFICATE OF SERVICE
           I hereby certify that on September 1, 2022, a copy of the foregoing was filed electronically
 2
     and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
 3
     by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
 4
     unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
 5
     access this filing through the Court’s CM/ECF System.
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                                                  /s/ Kyle W. Roche
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                                                  Kyle W. Roche
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                      MOTION TO WITHDRAW KYLE W. ROCHE AS COUNSEL
                                   Case No. 3:21-cv-06118
